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 7                   IN THE UNITED STATES DISTRICT COURT
 8                FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9                              WESTERN DIVISION
10
11    NOMADIX, INC.,                            CASE NO. 2:19-cv-10202-DDP-E
12               Plaintiff,                     [Hon. Dean D. Pregerson]
13                                              [PROPOSED] ORDER ON
            v.
14                                              STIPULATION FOR
      SIA MIKROTĪKLS; MICROCOM                  EXTENSION FOR
15    TECHNOLOGIES, INC.; CREATIVE              DEFENDANT MICROCOM
16    WIRELESS, INC.; and GLOBAL IT             TECHNOLOGIES, INC. TO
      COMMUNICATIONS, INC.,                     RESPOND TO COMPLAINT
17
                 Defendants.
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 1                                 [PROPOSED] ORDER
 2           Having read and considered the parties’ Stipulation to Extend Time for
 3   Microcom Technologies, Inc. to Respond to Complaint, and good cause appearing
 4   therefor, the Court hereby GRANTS the stipulation.            Defendant Microcom
 5   Technologies, Inc. shall have up to, and including, July 10, 2020 to file a response
 6   to the complaint in this action.
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 8   IT IS SO ORDERED.
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10   Date:                      , 2020
                                                   Hon. Dean D. Pregerson
11
                                                   United States District Judge
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 1                                   CERTIFICATE OF SERVICE

 2            I hereby certify that on June 10, 2020, I electronically filed the foregoing document with
     the clerk of court for the U.S. District Court, Central District of California, using the electronic
 3   case filing system of the court.
 4          I hereby certify that on June 10, 2020, I caused the foregoing document to be served by the
 5   Court’s Electronic Filing System:

 6                                       Douglas G Muehlhauser
                                     doug.muehlhauser@knobbe.com
 7                                          Perry D. Oldham
                                       perry.oldham@knobbe.com
 8                                 Knobbe Martens Olson and Bear LLP
 9                                     2040 Main Street 14th Floor
                                            Irvine, CA 92614
10                                      Telephone: 949-760-0404
                                           Fax: 949 760 9502
11
            FEDERAL: I declare, under penalty of perjury under the laws of the United States of
12          America that the foregoing is true and that I am employed in the office of a member of the
13          Bar of this Court at whose direction the service was made.

14          Executed on June 10, 2020, at Westlake Village, California.

15
                                                           /s/ Laura Banuelos
16                                                         Laura Banuelos
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